   Case:16-04078-BKT13 Doc#:54 Filed:05/03/18 Entered:05/03/18 10:27:22   Desc: Main
                        UNITED Document    Page 1 of 1COURT
                                STATES BANKRUPTCY
                             DISTRICT OF PUERTO RICO


IN RE:                                       CASE NO. 16-04078-BKT
LIMARY MARTINEZ DAVILA


XXX-XX-4470
                                                   CHAPTER 13

        DEBTOR (S)


                       TRUSTEE’S POSITION REGARDING DEBTORS
                 "MOTION REQUESTING RECONSIDERATION OF DISMISSAL"


  TO THE HONORABLE COURT:

     NOW COMES José R. Carrión, Chapter 13 Trustee, and very respectfully alleges
  and prays:
     1. On Feb 12, 2018 a Motion to Dismiss was filed by the here in appearing
  Chapter 13 Trustee, due to Debtor(s) failure to keep current with plan payments
  (Docket 46).
     2. In consequence on Apr 17, 2018 an Order Dismissing case was entered by
  this Honorable Court (Docket 51).
     3. On May 01, 2018 Debtor(s) filed a motion for reconsideration of said
  order dismissing the case (Docket 53).
     4. The issues that provoked the motion for dismissal have been         s o l v e d
since Debtor(s) have become up to date with the plan payments.
     5. The Trustee would like to inform this Honorable Court that he has no
opposition to either Debtor(s) request for reconsideration or to the reopening
of this case.


     WHEREFORE, the Trustee respectfully requests from Honorable Court to take
  note of the above and grant Debtor's motion in Docket no.53.

     CERTIFICATE OF SERVICE: I hereby certify that on this same date I
  electronically filed the above document with the Clerk of the Court using the
  CM/ECF System which sent a notification TO all CM/ECF participants, including
  Debtor’s attorney and I further certify that I have mailed this document by
  First Class Mail postage prepaid to debtor, at his mailing address of record.

     In San Juan, Puerto Rico this Thursday, May 3, 2018.

                                                /s/ Jose R. Carrion

                                                JOSE R. CARRION CHAPTER 13 TRUSTEE
                                                P.O. Box 9023884, San Juan,PR 00902
                                                Tel (787)977-3535 FAX (787)977-3550
